I cannot agree that the contract in this case does not comply with the provisions of General Statutes20-325a (b)(2). The majority opinion finds that the contract does not contain the defendant's address. I disagree. The agreement is for the sale of 20 Longview Drive, Windsor, Connecticut. An "address" is defined as "the designation of a place . . . where a person or organization may be found or communicated with . . . a part of such a designation (a street address)." Webster, Third New International Dictionary. Under this definition it could hardly be disputed that 20 Longview Drive is an address. Under the terms of the agreement the defendant as the owner engages to sell the property at this address. The only question is whether 20 Longview Drive is the defendant's address. The affidavit offered by the plaintiff answers this question by asserting that this is the defendant's address. For the purpose of the motion for summary judgment, which is the immediate issue before us, we must at the very least accept this assertion as raising a genuine issue of fact which would, therefore, preclude the granting of a motion for summary judgment; State ex rel. Commission for Higher Education v. Wethersfield School of Law, Inc., 169 Conn. 171,176; if the evidence is admissible under the parol evidence rule.
The parol evidence rule as a rule of substantive law; Panaroni v. Johnson, 158 Conn. 92, 106; does not permit written contracts to be varied by parol. Jarvis v. Cunliffe, 140 Conn. 297, 299. Extrinsic *Page 622 
evidence is admissible, however, for the purposes of identification. Hatheway v. Smith, 79 Conn. 506,519 (extrinsic evidence used to identify persons or property referred to in will); Beach v. Whittlesey, 73 Conn. 530, 534 (use of ground survey and map as means of identifying property referred to in deed); Fisher, Brown  Co. v. Fielding, 67 Conn. 91, 114 (identification of partners as judgment creditors); Nichols v. Lewis, 15 Conn. 137, 142 (location of lands and monuments). Although we cannot ascertain from the document itself whose address 20 Longview Drive is, this fact does not leave the court in darkness. Before declaring the writing void the court should bring to its aid in interpreting the document all the light afforded by the collateral facts and circumstances, even though such facts and circumstances are adduced by parol evidence. Falletti v. Carrano, 92 Conn. 636, 639. Had the trial judge brought that light to bear in this case the contract, as thus illuminated, would not offend the statute. I would reverse.